Case 19-51973-lrc       Doc 13 Filed 04/09/19 Entered 04/09/19 08:17:44            Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISON



In re                                              )   Chapter 13
 Allen Laurence Richardson,                        )
                                                   )   Case Number. 19-51973
                                                   )
Debtor(s)                                          )   Judge Lisa Ritchey Craig
                                                   )


                         REQUEST OF ATLAS ACQUISITIONS
            FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)


PLEASE TAKE NOTICE that Atlas Acquisitions LLC, a creditor in the above-captioned case,

requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the

Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code,

11 U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required

to be given and all papers served or required to be served in this case be also given to and

served, whether electronically or otherwise, on:


       Atlas Acquisitions LLC
       294 Union St.
       Hackensack, NJ 07601
       Attn: Avi Schild
       Telephone: (888) 762-9889
       Facsimile: (201) 546-9377
       E-mail: bk@atlasacq.com

Dated: 04/09/2019

                                                   By: /s/ Avi Schild
                                                   Avi Schild
                                                   c/o Atlas Acquisitions LLC
                                                   President
                                                   294 Union St.
                                                   Hackensack, NJ 07601
                                                   (888) 762-9889

Assignee Creditor: Mid America - Milestone MasterCard [Last four digits of account: 4691]
